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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

STEVE T. CLIFF, #142970,                          )
                                                  )
      Plaintiff,                                  )
                                                  )
      v.                                          )   CIVIL ACT. NO. 2:20-cv-572-ECM
                                                  )
JEFFERSON S. DUNN,                                )
Prison Commissioner,                              )
                                                  )
      Defendant.                                  )

                                 OPINION and ORDER

       On August 28, 2020, the Magistrate Judge entered a Recommendation (doc. 3)

to which no timely objections have been filed. After an independent review of the file

and upon consideration of the Recommendation, it is

       ORDERED that as follows:

       1.    the Recommendation of the Magistrate Judge is ADOPTED;

       2.    the motion to proceed in forma pauperis (doc. 2) is DENIED;

       3.    this case is DISMISSED without prejudice for the Plaintiff’s failure to pay

the full filing and administrative fees upon the initiation of this case.

      A separate Final Judgment will be entered.

      Done this 29th day of September, 2020.


                                         /s/ Emily C. Marks
                                   EMILY C. MARKS
                                   CHIEF UNITED STATES DISTRICT JUDGE
